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        THE ANNOTATED                                 CODE

                               -OF     THE-




              GENERAL STATUTE LAWS
                                 -OF




THE STATE OF MISSISSIPPI,
                             -PREPARED        BY-




                R. H. THOMPSON. GEORGE G. DILLARD,
                         and R. B. CAMPBELL,


                                  -AND-




   Reported to and amended and adopted by the Legislature at its Regular
                             Session in 1892.




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                                    CRIMES AND      MISDEMEANORS.                              1030-1o34

years to have or to own, or to carry concealed, in whole or in part, any weapon the
carrying of which concealed is prohibited, shall be guilty of a misdemeanor, and, on
conviction, shall be fined not less than twenty dollars nor more than two hundred
dollars, or may be imprisoned not more than sixty days in the county jail, or both.
    1030 (2988). The same; college students not to have, etc.-A student of any
university, college, or school, who shall carry, bring, receive, own, or have on the
campus, college or school grounds, or within two miles thereof, any weapon the
carrying of which cotcealed is prohibited, or a teacher, instructor, or professor who
shall knowingly suffer or permit any such weapon to be carried, or so brought,
received, owned, or had by a student or pupil, shall be guilty of a misdemeanor, and,
on conviction, be fined not exceeding three hundred dolla-rs or imprisoned in the
county jail not exceeding three months, or both.
    1031 (2804). The same; exhibiting in rude, angry, or threatening manner,
etc.-If any person, having or carrying any dirk, dirk-knife, sword, sword-cane, or
any deadly weapon, or other weapon the carrying of which concealed is prohibited,
shall, in the presence of three or more persons, exhibit the same in a rude, angry, or
threatening manner, not in necessary self-defense, or shall in any manner unlawfully
use the same in any fight or quarrel, the person so offending, upon conviction thereof,
shall be fined in a sum not exceeding five hundred dollars or be imprisoned in the
county jail not exceeding three months, or both. In prosecutions under this section
it shall not be necessary for the affidavit or indictment to aver, nor for the state to
prove on the trial, that any gun, pistol,.or other'fire-arm was charged, loaded, or in
condition to be discharged.
     The omission of the word " manner," after the words " rude, angry, and threatening," in an indictment,
is a formal defect, and may be amended as such. In such indictment it is unnecesiary to aver that the defend-
ant was " carrying" the weapon. Gamblin v. State, 45 Miss., 658.

    1032 (2769). Disturbance of family; noises and offensive condut.-A
person who willfully disturbs the peace of any family or person by an explosion of
gunpowder or other explosive substance, or by loud or unusual noise, or by any
tumultuous or offensive conduct, shall be punished by fine and imprisonment, or
either; the fine not to exceed one hundred dollars, and the imprisonment not to
exceed six months in the county jail.
     What constitutes the offensive conduct, or the nature or character of the offensive conduct, should be
stated in the affidavit or indictment. Finch v. State, 64 Miss., 461.
     This section and the next one are intended to protect the peace of families. An affidavit or indictment
averring the disturbance merely of an individual, charges no offense under either section. Brooks v. State
67 Miss., 577.

   1033 (2770). The same; using abusive, etc., language, etc.-Any person
who enters the dwelling-house of another, or the yard or curtilage thereof, or upon
the public highway, or any other place near such premises, and in the presehice or
hearing of the family of the possessor or occupant thereof, or of any member
thereof, or of any female, makes use of abusive, profane, vulgar, or indecent lan-
guage, or is guilty of any indecent exposure of his person at such place, shall be
punished for a misdemeanor.
    Place is material. An indictment charging the use of abusive language in a yard, is not sustained by
proof of its use near the yard. Quin v. State, 65 Miss., 479.
   1034 (2767). Disturbance of worship; proceedings and penalty.-If any per-
son shall willfully disturb any congregation of persons lawfully assembled for reli-
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